Case 08-13141-BLS   Doc 7718-5   Filed 02/01/11   Page 1 of 4




                      Exhibit 5
                                                                        Case 08-13141-BLS    Doc 7718-5    Filed 02/01/11     Page 2 of 4

                                           Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates     Author                  Sent to                   CC                Sent Date     Subject                    Priv. Type        Redacted
        No.

349               Mark Shapiro            Maggie Wilderotter; Jeff        Sam Zell        10/19/10      Email forwarding attorney    Attorney Client
                                          Berg; Don Liebentritt, Esq.                                   impressions                  Privilege
                                                                                                        related to the hearing       Common
                                                                                                        regarding the                Interest
                                                                                                        Trustee Motion.              Privilege
                                                                                                                                     Work Product
350               Don Liebentritt, Esq.   Mark Shapiro; Maggie            Sam Zell        10/19/10      Email reflecting attorney    Attorney Client
                                          Wilderotter; Jeff Berg                                        impressions                  Privilege
                                                                                                        related to the hearing       Common
                                                                                                        regarding the                Interest
                                                                                                        Trustee Motion.              Privilege
                                                                                                                                     Work Product
408               Don Liebentritt, Esq.   Betsy Holden; Bill Pate;                        12/7/10       Email forwarding attorney    Attorney Client
                                          Brian Greenspun; Frank                                        impressions                  Privilege
                                          Wood; Jeff Berg; Maggie                                       regarding court              Common
                                          Wilderotter; Mark Shapiro;                                    proceedings.                 Interest
                                          Sam Zell; Sam Zell;                                                                        Privilege
                                          William                                                                                    Work Product
                                          Osborn
409               Maggie Wilderotter      Don Liebentritt, Esq.           Betsy Holden;   12/7/10       Email requesting legal       Attorney Client
                                                                          Bill Pate;                    advice                       Privilege
                                                                          Brian                         regarding plan voting        Common
                                                                          Greenspun;                    procedures and               Interest
                                                                          Frank                         discovery.                   Privilege
                                                                          Wood; Jeff                                                 Work Product
                                                                          Berg; Mark
                                                                          Shapiro; Sam
                                                                          Zell; Sam
                                                                          Zell; William
                                                                          Osborn
415               Don Liebentritt, Esq    Betsy Holden; Bill Pate;                        12/15/10      Email regarding the Step 1   Attorney Client
                                          Brian Greenspun; Frank                                        Only                         Privilege
                                          Wood; Jeff Berg; Maggie                                       Credit Agreement Lenders     Common
                                          Wilderotter; Mark Shapiro;                                    plan and                     Interest
                                          Sam Zell; Sam Zell;                                           Discovery.                   Privilege
                                          William                                                                                    Work Product
                                          Osborn
430     SCTRIB- 1. Don Liebentritt, Esq   1. Maggie Wilderotter, Sam                      1. 11/10/10   Email discussion of case     Attorney Client   Attorney Client Privilege
        0002045                           Zell, Betsy Holden, Brian                                     developments                 Privilege         Common Interest Privilege
                                          Greenspun, Mark Shapiro,                                      related to the Management    Common
                                          Bill Pate, Frank Wood, Jeff                                   Incentive                    Interest
                                          Berg, William A. Osborn                                       Plan reflecting attorney     Privilege
                                                                                                        analysis and
                                                                                                        impressions.
                                                                       Case 08-13141-BLS    Doc 7718-5    Filed 02/01/11   Page 3 of 4

                                              Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation

Doc #   Bates     Author                     Sent to                       CC            Sent Date     Subject                     Priv. Type        Redacted
        No.

433     SCTRIB- 1. Don Liebentritt, Esq.     1. Maggie Wilderotter, Sam                  1. 11/10/10   Email discussion of case    Attorney Client   Attorney Client Privilege
        0002047                              Zell, Betsy Holden, Brian                                 developments                Privilege         Common Interest
                                             Greenspun, Mark Shapiro,                                  related to the Management   Common            Privilege
                                             Bill Pate, Frank Wood, Jeff                               Incentive                   Interest          Work Product
                                             Berg, William A. Osborn                                   Plan reflectin              Privilege
                                                                                                                                   Work Product
434     SCTRIB- 1. Don Liebentritt, Esq      1. Maggie Wilderotter, Sam                  1. 11/10/10   Email discussion of case    Attorney Client   Attorney Client Privilege
        0002049                              Zell, Betsy Holden, Brian                                 developments                Privilege         Common Interest
                                             Greenspun, Mark Shapiro,                                  related to the Management   Common            Privilege
                                             Bill Pate, Frank Wood, Jeff                               Incentive                   Interest          Work Product
                                             Berg, William A. Osborn                                   Plan reflecting attorney    Privilege
                                                                                                       analysis and                Work Product
                                                                                                       impressions.
436               1. Don Liebentritt, Esq.   1. Maggie Wilderotter, Sam                  1. 11/10/10   Email discussion of case    Attorney Client
                                             Zell, Betsy Holden, Brian                                 developments                Privilege
                                             Greenspun, Mark Shapiro,                                  related to the Management   Common
                                             Bill Pate, Frank Wood, Jeff                               Incentive                   Interest
                                             Berg, William A. Osborn                                   Plan reflecting attorney    Privilege
                                                                                                       analysis and                Work Product
                                                                                                       impressions.
439     SCTRIB- 1. Don Liebentritt, Esq      1. Maggie Wilderotter, Sam                  1. 11/10/10   Email discussion of case    Attorney Client   Attorney Client Privilege
        0002041                              Zell, Betsy Holden, Brian                                 developments                Privilege         Common Interest
                                             Greenspun, Mark Shapiro,                                  related to the Management   Common            Privilege
                                             Bill Pate, Frank Wood, Jeff                               Incentive                   Interest          Work Product
                                             Berg, William A. Osborn                                   Plan reflecting attorney    Privilege
                                                                                                       analysis and                Work Product
                                                                                                       impressions.
442     SCTRIB- 1. Don Liebentritt, Esq.     1. Maggie Wilderotter, Sam                  1. 11/10/10   Email discussion of case    Attorney Client   Attorney Client Privilege
        0002043                              Zell, Betsy Holden, Brian                                 developments                Privilege         Common Interest
                                             Greenspun, Mark Shapiro,                                  related to the Management   Common            Privilege
                                             Bill Pate, Frank Wood, Jeff                               Incentive                   Interest          Work Product
                                             Berg, William A. Osborn                                   Plan reflecting attorney    Privilege
                                                                                                       analysis and                Work Product
                                                                                                       impressions.
                                                                   Case 08-13141-BLS     Doc 7718-5    Filed 02/01/11   Page 4 of 4




                                                          Tribune's Privilege Log of Don Liebentritt Electronic Documents - January 19, 2011
Doc #   # of Attach   Author            Sent to                                CC               Sent Date            Subject                   Priv Type          Reason for Withholding
1339    0             Brian Greenspun   Don Liebentritt; Betsy Holden,                          11/11/2010           2010 MIP                  Attorney-Client/   This email string discusses legal advice
                                        William Pate; Frank Wood; Jeff Berg;                                                                   Work Product       received
                                        Maggie Wilderotter; Mark Shapiro;                                                                                         from Sidley Austin regarding analysis
                                        Sam Zell; Sam Zell; William Osborne                                                                                       of Plan Terms
                                                                                                                                                                  and management incentive plan.

1340    0             William Osborn    Don Liebentritt; Betsy Holden;                          11/11/2010           2010 MIP                  Attorney-Client/   This email string discusses legal advice
                                        William Pate; Brian Greenspun;                                                                         Work Product       received
                                        Frank Wood; Jeff Berg; Maggie                                                                                             from Sidley Austin regarding analysis
                                        Wilderotter; Mark Shapiro; Sam Zell;                                                                                      of Plan Terms
                                        Sam Zell                                                                                                                  and management incentive plan.

1341    0             Jeff Berg         Don Liebentritt; Betsy Holden;                          11/11/2010           2010 MIP                  Attorney-Client/   This email string discusses legal advice
                                        William Pate; Brian Greenspun;                                                                         Work Product       received
                                        Frank Wood; Maggie Wilderotter;                                                                                           from Sidley Austin regarding analysis
                                        Mark Shapiro; Sam Zell; Sam Zell;                                                                                         of Plan Terms
                                        William Osborne                                                                                                           and management incentive plan.

1343    0             Frank Wood        Don Liebentritt; Betsy Holden; Bill                     11/11/2010           2010 MIP                  Attorney-Client/   This email string discusses legal advice
                                        Pate; Brian Greenspun; Jeff Berg;                                                                      Work Product       received
                                        Maggie Wilderotter; Mark Shapiro;                                                                                         from Sidley Austin regarding analysis
                                        Sam Zell; Sam Zell; William Osborn                                                                                        of Plan Terms
                                                                                                                                                                  and management incentive plan.

1344    0             Don Liebentritt   Betsy Holden; Bill Pate; Brian                          11/11/2010           2010 MIP                  Attorney-Client/   This email discusses legal advice
                                        Greenspun; Frank Wood; Jeff Berg;                                                                      Work Product       received from Sidley Austin regarding
                                        Maggie Wilderotter; Mark Shapiro;                                                                                         analysis of Plan Terms and management
                                        Sam Zell, William Osborn                                                                                                  incentive plan.
